                                                            Case 3:18-cv-00814-L-BGS Document 32 Filed 09/24/19 PageID.491 Page 1 of 3




                                                             1   ANTHONY CAPOBIANCO (SBN 162551)
                                                             2   DEREK WALLEN (SBN 214477)
                                                                 CAPOBIANCO LAW OFFICES, P.C.
                                                             3
                                                                 41990 Cook Street, Bldg. F, Suite 2006
                                                             4   Palm Desert, California 92211
                                                                 Telephone: (760) 568-6500
                                                             5
                                                                 Facsimile: (760) 568-0100
                                                             6   acapobianco@capobiancolaw.com
                                                             7
                                                                 dwallen@capobiancolaw.com

                                                             8   Attorneys for Defendant
                                                             9   Robert S. Wolf
                                                            10
                                                                                     UNITED STATES DISTRICT COURT
CAPOBIANCO LAW OFFICES, P.C.




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                                                                                  SOUTHERN DISTRICT OF CALIFORNIA
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                                                            13   HOWARD APPEL,                              Case No. 18-cv-0814-L-BGS
                                                            14
                                                                             Plaintiff,                     [Assigned to the Hon. M. James
                                                            15                                              Lorenz]
                                                                             v.
                                                            16
                                                                                                            NOTICE OF STAY PENDING
                                                            17   ROBERT S. WOLF,                            APPEAL
                                                            18
                                                                             Defendant.
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                                                                                           NOTICE OF STAY PENDING APPEAL
                                                                                              CASE NO. 18-cv-0814-L-BGS
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                                                             1         On September 24, 2019, defendant Robert S. Wolf (“Wolf”) filed a notice of
                                                             2   appeal [ECF No. 31] from the Court’s September 19, 2019 order [ECF No. 29]
                                                             3   denying Wolf’s special motion to strike the complaint against him under
                                                             4   California’s anti-SLAPP statute (Cal. Civ. Proc. Code § 425.16). Notice is hereby
                                                             5   given that the filing of Wolf’s notice of appeal, which encompasses all claims set
                                                             6   forth in plaintiff Howard Appel’s complaint against him, stays all proceedings,
                                                             7   including discovery, in this District Court action during the pendency of Wolf’s
                                                             8   appeal, on the following grounds:
                                                             9   1.    The order denying Wolf’s special motion to strike is immediately appealable
                                                            10         pursuant to the collateral order doctrine. Jordan-Benel v. Universal City
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                                                            11         Studios, Inc. (9th Cir. 2017) 859 F.3d 1184, 1188; DC Comics v. Pacific
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                                                            12         Pictures Corp. (9th Cir. 2013) 706 F.3d 1009, 1016.
                                                            13   2.    “The filing of a notice of appeal [] confers jurisdiction on the court of
                                                            14         appeals and divests the district court of its control over those aspects of the
                                                            15         case involved in the appeal.” Rodriguez v. County of Los Angeles (9th Cir.
                                                            16         2018) 891 F.3d 776, 790 (quoting Griggs v. Provident Consumer Discount
                                                            17         Co. (1982) 459 U.S. 56, 58).
                                                            18   3.    “[A]n appeal of a denial of an anti-SLAPP motion [under California’s anti-
                                                            19         SLAPP statute] automatically stays further trial court proceedings on causes
                                                            20         of action related to the motion.” Youngevity Int’l, Corp. v. Smith (S.D. Cal.,
                                                            21         Apr. 9, 2019, No. 16-cv-00704-BTM-JLB) 2019 WL 1542300, at *22;
                                                            22         Makaeff v. Trump University, LLC (S.D. Cal., Feb. 11, 2011, No. 10-cv-940-
                                                            23         IEG-WVG) 2011 WL 613571, at *2.
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                                                                                               CASE NO. 18-cv-0814-L-BGS
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                                                             1   Date: September 24, 2019              CAPOBIANCO LAW OFFICES, P.C.
                                                             2
                                                                                                 By:   /s Derek O. Wallen
                                                             3                                         Derek O. Wallen
                                                             4                                         Attorney for Defendant Robert S. Wolf
                                                                                                       E-mail: dwallen@capobiancolaw.com
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